          Case 3:21-mj-00032       Document 6      Filed 02/08/21     Page 1 of 7


                                                                                      NRESTRAINT,
                               U.S. District Court
                        District of Oregon (Portland (3))
                CRIMINAL DOCKET FOR CASE #: 3:21−mj−00032−1

Case title: USA v. Grace                                     Date Filed: 02/04/2021
Other court case number: 1:21−mj−178 District of Columbia

Assigned to: Unassigned

Defendant (1)
Jeffrey Grace                         represented by C. Renee Manes
                                                     Federal Public Defender
                                                     101 SW Main Street
                                                     Suite 1700
                                                     Portland, OR 97204
                                                     503−326−2123
                                                     Fax: 503−326−5524
                                                     Email: renee_manes@fd.org
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED
                                                     Designation: Public Defender or Community
                                                     Defender Appointment

Pending Counts                                       Disposition
None

Highest Offense Level (Opening)
None

Terminated Counts                                    Disposition
None

Highest Offense Level
(Terminated)
None

Complaints                                           Disposition
18:1752(a)(1) KNOWINGLY
ENTERING OR REMAINING IN
ANY RESTRICTED BUILDING
OR GROUNDS WITHOUT
LAWFUL AUTHORITY.


                                                                                                 Page 1
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Plaintiff
USA                                           represented by Pamela Paaso
                                                             DOJ−USAO
                                                             1000 SW Third Avenue
                                                             Suite 600
                                                             Portland, OR 97204−2902
                                                             503−727−1000
                                                             Email: pamela.paaso@usdoj.gov
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED
                                                             Designation: Retained
Email All Attorneys

 Date Filed     # Page Docket Text
 02/04/2021    1        Documents Received From Other Court as to Jeffrey Grace from District of
                        Columbia Case No: 1:21−mj−000178 Initial Appearance is set for 2/4/2021 at
                        01:30PM in Portland by videoconference before the duty magistrate judge.
                        (Attachments: # 1 Attachment Warrant, # 2 Attachment Order to Seal) (schm)
                        (Entered: 02/04/2021)
 02/04/2021    2        Minutes of Proceedings: Initial Appearance pursuant to Rule 5(c)(3) for Arrest
                        in Our District Offense in Another. Proceedings before Magistrate Judge Youlee
                        Yim You as to Jeffrey Grace (USM #28805−509). Government's oral motion to
                        unseal case is granted. Defendant waives an in−person appearance and consents
                        to appear by videoconference from USM Lock−Up. Order Appointing Counsel
                        AFPD C. Renee Manes for Jeffrey Grace for today's proceedings. Defendant
                        proceeds as named, waived preliminary hearing and identity hearing; signed
                        waiver forthcoming. Defendant advised of rights and waived reading of the
                        charges. Defendant is ORDERED released on conditions at the direction of U.S.
                        Pretrial Services to appear on 2/09/2021 at 1:00PM by video regarding charges
                        in the District of Columbia case: 1:21−mj−00178; documents forthcoming.
                        Counsel Present for Plaintiff: Pam Paaso. Counsel Present for Defendant: C.
                        Renee Manes. Restraint Order: NR. (Court Reporter Jill Jessup) (pvh) (Entered:
                        02/04/2021)
 02/04/2021    3        Waiver of Preliminary Examination or Hearing pursuant to Rule 5(c)(3) by
                        Jeffrey Grace (schm) (Entered: 02/04/2021)
 02/04/2021    4        Order Setting Conditions of Release as to Defendant Jeffrey Grace. Signed on
                        2/4/2021 by Magistrate Judge Youlee Yim You. (Lindberg, Rachel). (Entered:
                        02/04/2021)
 02/04/2021    5        ORDER REQUIRING A DEFENDANT TO APPEAR IN THE DISTRICT
                        WHERE CHARGES ARE PENDING AND TRANSFERRING BAIL as to
                        Jeffrey Grace. Signed on 2/04/2021 by Magistrate Judge Youlee Yim You. (pvh)
                        (Entered: 02/04/2021)




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MIME−Version:1.0
From:info@ord.uscourts.gov
To:nobody
Bcc:
−−Case Participants:
−−Non Case Participants:
−−No Notice Sent:

Message−Id:7306669@ord.uscourts.gov
Subject:Activity in Case 21−32 Sealed v. Sealed (Redacted Notice)
Content−Type: text/html

                                           U.S. District Court

                                           District of Oregon

Notice of Electronic Filing


The following transaction was entered on 2/4/2021 at 2:39 PM PST and filed on 2/4/2021

Case Name:       USA v. SEALED
Case Number:     3:21−mj−00032 *SEALED*
Filer:
Document Number: 2(No document attached)
Docket Text:
 Minutes of Proceedings: Initial Appearance pursuant to Rule 5(c)(3) for Arrest in Our District
Offense in Another. Proceedings before Magistrate Judge Youlee Yim You as to Jeffrey
Grace (USM #28805−509). Government's oral motion to unseal case is granted. Defendant
waives an in−person appearance and consents to appear by videoconference from USM
Lock−Up. Order Appointing Counsel AFPD C. Renee Manes for Jeffrey Grace for today's
proceedings. Defendant proceeds as named, waived preliminary hearing and identity
hearing; signed waiver forthcoming. Defendant advised of rights and waived reading of the
charges. Defendant is ORDERED released on conditions at the direction of U.S. Pretrial
Services to appear on 2/09/2021 at 1:00PM by video regarding charges in the District of
Columbia case: 1:21−mj−00178; documents forthcoming. Counsel Present for Plaintiff: Pam
Paaso. Counsel Present for Defendant: C. Renee Manes. Restraint Order: NR. (Court
Reporter Jill Jessup) (pvh)


3:21−mj−00032 *SEALED*−1 No electronic public notice will be sent because the case/entry is sealed.




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                          Case 3:21-mj-00032 Document 6 Filed 02/08/21 Page 4 of 7
AO 466A (Rev. 07/16) Waiver of Rule 5 & 5.1 Hearings (Complaint or Indictment)


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                             District
                                                      __________      of Oregon
                                                                 District of __________

                 United States of America                                   )
                            v.                                              )    Case No. 3:21-mj-00032
                                                                            )
                      JEFFREY GRACE                                         )
                                                                            )    Charging District’s Case No. 1:21-mj-00178
                            Defendant                                       )

                                                 WAIVER OF RULE 5 & 5.1 HEARINGS
                                                      (Complaint or Indictment)

          I understand that I have been charged in another district, the (name of other court)                District of the District of
                                                                    Columbia                                                                .

          I have been informed of the charges and of my rights to:
          (1)       retain counsel or request the assignment of counsel if I am unable to retain counsel;
          (2)       an identity hearing to determine whether I am the person named in the charges;
          (3)       production of the warrant, a certified copy of the warrant, or a reliable electronic copy of either;
          (4)       a preliminary hearing to determine whether there is probable cause to believe that an offense has been
                    committed, to be held within 14 days of my first appearance if I am in custody and 21 days otherwise,
                    unless I have been indicted beforehand.

          (5)       a hearing on any motion by the government for detention;

          (6)       request a transfer of the proceedings to this district under Fed. R. Crim. P. 20, to plead guilty.

          I agree to waive my right(s) to:
          u         an identity hearing and production of the warrant.
          u         a preliminary hearing.
          u         a detention hearing.
          ✔
          u         an identity hearing, production of the warrant, and any preliminary or detention hearing to which I may
                    be entitled in this district. I request that any preliminary or detention hearing be held in the prosecuting
                    district, at a time set by that court.

       I consent to the issuance of an order requiring my appearance in the prosecuting district where the charges are
pending against me.


Date:           02/04/2021                                                       Consented in presence of attorney
                                                                                          Defendant’s signature


                                                                                   C. Renee Manes (electronic)
                                                                                    Signature of defendant’s attorney


                                                                                          C. Renee Manes
                                                                                   Printed name of defendant’s attorney

                                                                                                                                        Page 4
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                                           UNITED STATES DISTRICT COURT
                                            FOR THE DISTRICT OF OREGON

 UNITED STATES OF AMERICA                                                                                    ORDER SETTING CONDITIONS
                       V.                                                                                                  OF RELEASE

 Jeffrey Grace                                                                                                     Case Number: 3:21-MJ-00032-1


IT IS ORDERED that the release of the defendant is subject to the following conditions:

(I)       The defendant shall not commit any offense in violation of federal, state or local law while on release in this case.
(2)       The defendant must cooperate in the collection of a DNA sample if the collection is authorized by 42 U.S.0 § 14135a.
(3)       The defendant shall immediately advise the court through Pretrial Services or defense counsel in writing of any change in
          address and telephone number.
(4)       The defendant shall appear at all proceedings as required and shall surrender for service of any sentence imposed as directed.
          The defendant shall next appear as directed by U.S. District Court.

                                                         Additional Conditions of Release

IT IS FURTHER ORDERED that the defendant be released provided that the defendant:
    •   Report as directed by the U.S. Pretrial Services Office.
    •   Report weekly to U.S. Pretrial Services Office.
    •   Travel is limited to Washington unless prior approval is obtained from U.S. Pretrial Services.
    •   The defendant is prohibited from entering the District of Columbia.


                                                         Advice of Penalties and Sanctions

TO THE DEFENDANT:

          YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

           A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a revocation of
release, an order of detention, forfeiture of bond, and a prosecution for contempt of court and could result in a term of imprisonment, a fine, or both.

           The commission of any crime while on pre-trial release may result in an additional sentence to a term of imprisonment of not more than ten
years, if the offense is a felony; or a term of imprisonment of not more than one year, if the offense is a misdemeanor. This sentence shall be in
addition to any other sentence.

           Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to intimidate or attempt to
intimidate a witness, victim, juror, informant or officer of the court, or to obstruct a criminal investigation. It is also a crime punishable by up to ten
years of imprisonment, a $250,000 fine or both, to tamper with a witness, victim or informant, or to retaliate against a witness, victim or informant, or
to threaten or attempt to do so.

         If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service of sentence, you may
be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:

(1)       an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you shall be fined not more than
          $250,000 or imprisoned for no more than ten years, or both;
(2)       an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall be fined not more than
          $250,000 or imprisoned for no more than five years, or both;
(3)       any other felony, you shall be fined not more than $250,000 or imprisoned no more than two years, or both:
(4)       a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both;

           A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any other offense. In addition, a
failure to appear may result in the forfeiture of any bond posted.




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                                                           Acknowledgment of Defendant

           I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions of
release, to appear as directed, and to surrender for service of any sentence imposed. I am aware of the penalties and sanctions set forth above.




                                                                                                       r

                                                                                                             ignature of Defendant



                                                                                                               City, State & Zip

Special Needs Finding:
Based upon the above conditions, including the conditions relating to:
        Alcohol detection
        Drug detection
        Computer monitoring
The Court is reasonably assured the defendant will appear as directed and not pose a danger to the community or any other person.

Directions to the United States Marshal
®       The defendant is ORDERED released after processing.
        The defendant is ORDERED temporarily released.
        The United States Marshal is ORDERED to keep the defendant in custody until notified by the clerk, Pretrial Services or
        judicial officer that the defendant has posted bond and/or complied with all other conditions for release including space
        availability at a community corrections center or residential treatment facility. If still in custody, the defendant shall be
        produced before the duty Magistrate Judge on                                       at


Date:     February 4, 2021


                                                                                                     Signature of Judicial Officer
                                                                                                           Youlee Yim You
                                                                                                           U.S. Magistrate Judge
                                                                                                  Name and Title of Judicial Officer



cc:       Defendant
          US Attorney
          US Marshal
          Pretrial Services




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                           Case 3:21-mj-00032 Document 6 Filed 02/08/21 Page 7 of 7

AO 467 (Rev. 01/09) Order Requiring a Defendant to Appear in the District Where Charges are Pending and Transferring Bail


                                        UNITED STATES DISTRICT COURT
                                                                           for the
                                                              District
                                                       __________      of Oregon
                                                                  District of __________

                   United States of America                                    )
                              v.                                               )       Case No. 3:21-mj-00032
                       JEFFREY GRACE                                           )
                                                                               )       Charging District:          District of Columbia
                              Defendant                                        )       Charging District’s Case No. 1:21-mj-00178


                      ORDER REQUIRING A DEFENDANT TO APPEAR IN THE DISTRICT
                        WHERE CHARGES ARE PENDING AND TRANSFERRING BAIL

        After a hearing in this court, the defendant is released from custody and ordered to appear in the district court
where the charges are pending to answer those charges. If the time to appear in that court has not yet been set, the
defendant must appear when notified to do so. Otherwise, the time and place to appear in that court are:

Place: E. Barrett Prettyman United States Courthouse                                   Courtroom No.: Via Zoom
         333 Constitution Avenue, N.W.
         Washington, DC 20001                                                          Date and Time: 2/9/2021 1:00 pm

        The clerk is ordered to transfer any bail deposited in the registry of this court to the clerk of the court where the
charges are pending.


Date:        February 4, 2021
                                                                                                           Judge’s signature

                                                                                The Honorable Youlee Yim You U.S. Magistrate Judge
                                                                                                        Printed name and title




                                                                                                                                      Page 7
